                                                              SO ORDERED.


                                                              Dated: April 12, 2018
     Nathan A. Finch (#031279)
1
     Michael W. Thrall (#031172)
2    Catalyst Legal Group, PLLC
                                                              ______________________________________
     1820 East Ray Rd.                                        Madeleine C. Wanslee, Bankruptcy Judge
3    Chandler, AZ 85225
     602.456.2233
4
     Attorneys for Debtor
5
                           UNITED STATES BANKRUPTCY COURT
6                                 DISTRICT OF ARIZONA

7    In re:                                         Case No. 2:18-bk-03224-MCW
8

     TIFFANY WHITE                                  Chapter 13 Proceedings
9
                                                    ORDER ON MOTION TO EXTEND
10                                                  TIME TO FILE CHAPTER 13
                                 Debtors            PLAN.
11

12

13
              THIS MATTER, having come before the Court in the form of a Motion to Extend
14
     Time to file Chapter 13 Plan and good cause appearing;
15

16            IT IS ORDERED granting the Debtors until April 19, 2018 to file the Chapter 13
17
     Plan.
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                                   AS SIGNED AND DATED ABOVE

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     Case 2:18-bk-03224-MCW        Doc 18 Filed 04/12/18
                                                1        Entered 04/12/18 12:56:05        Desc
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